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 5
     Attorney for Defendant
 6   VI TRUONG
 7
 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            Case No. 2:09-cr-00421-GEB
12                 Plaintiff,
                                                          STIPULATION AND ORDER
13          v.                                            RESETTING PROPERTY BOND
                                                          DOCUMENT CONTROL DATE
14   VI TRUONG,
15              Defendant.
     _____________________________/
16
17          IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   Jason Hitt, counsel for plaintiff, and the below signed counsel for defendant Vi Truong that
19   the control date for the completion of the real property documents securing the bond in Mr.
20   Vi Truong’s case be extended from November 5, 2009, to December 8, 2009, at 2:00 p.m..
21   The November 5, 2009, control date was set by Stipulation and Proposed Order signed by
22   the Honorable Judge Mueller on October 15, 2009.
23          The bond in this case will be secured by several pieces of property. Counsel for Mr.
24   Truong has forwarded appraisals, title reports, and deeds of trust to Mr. Hitt. Mr. Hitt is
25   currently in trial and has not yet had the opportunity to finalize his review the property
26   documents. Moreover, once the documents are reviewed and approved they must be
27   recorded in the county recorder’s office and then returned to the Court. Therefore, the parties
28   respectfully request further time to finalize the property bond process. Counsel for Mr.
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 1   Truong has spoken with Mr. Hitt’s office and is informed that he does not object to this
 2   request, is agreeable to the requested new date, and gives his authorization for this electronic
 3   filing.
 4             SO STIPULATED
 5   DATED: November 2, 2009                            /s/ Douglas Horngrad
                                                        DOUGLAS I. HORNGRAD
 6                                                      Counsel for Defendant Vi Truong
 7
 8   DATED: November 2, 2009                            /s/ Jason Hitt
                                                        JASON HITT
 9                                                      Assistant U.S. Attorney
                                                        Counsel for Plaintiff
10
11             IT IS SO ORDERED.
12   DATED: November 3, 2009.
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18   Ddad1/orders.criminal/truong0421.stipord

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